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Default - Rule 55A                                                                          (CO 40 Revised-6/2019)




           UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                                     FOR THE DISTRICT OF COLUMBIA




DISTRICT OF COLUMBIA
                      Plaintiff(s)
                                                                            Civil Action: 1:21-cv-03267-APM
         v.

OATH KEEPERS
PROUD BOYS INTERNATIONAL, L.L.C. et al
                     Defendant(s)


    OATH KEEPERS
RE: PROUD BOYS INTERNATIONAL, L.L.C.


                                                   DEFAULT
         It appearing that the above-named defendant(s) failed to plead or otherwise defend this action though

duly served with the amended complaint                            on       May 23, 2022         , and an affidavit

on behalf of the plaintiff having been filed, it is this    5th   day of        October         , 2023 declared

that defendant(s) is/are in default.



                                                                  ANGELA D. CAESAR, Clerk


                                                           By:             /s/ Michele M. Grady
                                                                                Deputy Clerk
